                       CASE 0:12-cr-00295-PAM-AJB Doc. 3 Filed 12/04/12 Page 1 of 1

                                      UNITED STATES DISTRICT COURT
                                          DISTRICT OF MINNESOTA

TINITED STATES OF AMERICA                                     )
                                                              )
            v.                                                )
                                                              )
                                                                     Case No.:
                                                                                     lL o'v g1.- f*n^fu
ERIC WADE FORCIER                                             )

                      APPLICATION FOR WRIT OF HABEAS CORPUS
The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
      (X )Ad Prosequendum ( )Ad Testificandum

Name of Detainee: ERIC WADE FORCIER
Detained at (custodian): Rice County Jail

Detainee is:           a.) ( X ) charged in this district by:
                                    (X)Indictment                     ( )Information                 (
                                                                                                 ) Complaint
                                    Charging Detainee        With:   Interference with Commerce by Robbery

            or         b.)   ( ) a witness not otherwise available by ordinary process of the Court
Detainee         will: a.)   ( ) return to the custody of detaining facility upon termination of this proceeding
            or         b.)   ( X ) be retained in federal custody until final disposition of federal charges.

Appearance is necessary forthwith in the                                               duty.

Dated: November          f2/,    ZO|Z



                                             WRIT OF HABEAS CORPUS
            (X )Ad Prosequendum ( )Ad Testificandum
The above application is granted and the above-named custodian, as well as the United States marshal
for this district, is hereby ORDERED to produce the named detainee, on the date and time recited
above, and any further proceedings to be had in this case, and at the conclusion of said proceedings to
return said detainee to the above-named custodian.
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Pels------
Please provide the following,           if known:
 A.K.A.(s) (if applicable):                                           Gender: Male
  Booking or Fed. Reg.#:                                              DOB:
  Faciliry Address:                 I l8 3rd Street NW                Race:
                                    Faribault. MN 55021               FBI #:
  Facility Phone:                   (s0D332-6021                                                         OEc   04    z0l&i
  Cunently Incarcerated For:

                                                          Rf,TURN OFSERVICE
                                                                                           tu h;l-   lltlttd   |   2 " L/- /   e
